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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )     No. 04 CR 464-1
                                              )
MARVEL THOMPSON                               )


                        MEMORANDUM OPINION AND ORDER

      Marvel Thompson, defendant in 4 Cr 464 and plaintiff in 8 C

12941, seeks an order requiring the government to turn over to him

$320,055.25 in United States currency and various other items that

were seized from him during the execution of search and arrest

warrants in 2004.         Thompson was indicted, along with 45 other

defendants, on August 31, 2004.            The 45 count indictment charged

that Thompson and the other defendants from 1989 until their arrest

in    June,   2004   conspired    with     each   other       to   knowingly   and

intentionally possess with intent to distribute cocaine, heroin,

and   other    drugs.      The   offense    involved      a    large-scale     drug

distribution conspiracy operated by the Black Disciples                    street

gang.     The organization was highly structured, at the top of which

was a king, Thompson.        (Thompson was the sole king from 1989 to

2003, when he split the organization into three territories,

appointing two others as king of two of the territories.                 Thompson

continued to be the king of the Englewood or Southside of Chicago


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       The Clerk’s office of the District Court assigns a new
number to a petition for return of property.
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territory.) The organization controlled its drug trade and members

through stringent rules and violence. Thompson plead guilty to the

conspiracy charge on March 29, 2005.              On April 26, 2007, after a

lengthy sentencing hearing, Thompson was sentenced to 540 months in

the Bureau of Prisons.        I also imposed a fine of $100,000, and a

required special assessment of $100. Thompson’s appeal of the

sentence has been argued but remains pending.

      In March, 2008, Thompson filed a            petition under Fed. R. Crim

P.   41(g),   seeking   the    return       of   all   property   held   by   the

government, including computer hardware, financial documentation,

cameras, video equipment, specified small amounts of currency, real

property, a vehicle and $318,955.25.             I directed the government to

file a response by a certain date.           The government failed to do so

but the government apparently advised this court’s courtroom deputy

that it would do so promptly, as indicated by a minute order dated

July 18, 2008.        Thompson then filed a motion for a default

judgment, which was heard in court on July 25, 2008 and continued

on two status hearings.2         On September 18, 2008, I ordered the

government to file its response by October 10, 2008 or be held in




      2
       Thompson complains that status hearings on this matter were
held without his presence but he is currently incarcerated in
Louisiana.   As he notes, the present proceeding is part of his
criminal case.    He continues to be represented by counsel of
record, and notices of each status hearing were given. I also gave
Thompson the option of seeking the appointment of counsel for this
matter. Thompson has received a transcript of each hearing as well.

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default.     At a subsequent status, I gave the government one last

extension, and a response was filed on October 17, 2008.

       The government’s response indicates that it seized funds in

four separate cash seizures totaling $320,055.25 from Thompson.

The government stated that it initiated administrative forfeiture

proceedings soon after Thompson’s arrest with respect to $8, 775.25

of this amount.    No party made a claim to these funds and they were

forfeited.    The government stated, however, that it would release

seized funds in the amount of $310,180.00, plus accrued interest,

and an additional amount of $1,100. The government stated that the

vehicle, in the name of some person other than Thompson, and

without equity, was returned to the lien holder, Ford Motor Credit,

in 2005.     The government provided copies of its release of lis

pendens notices on the real property, as proof that it no longer

held any interest in such property.          The government insisted that

it needed to hold the remaining property (consisting of computers

and financial information) until all appeals are exhausted.

       I gave Thompson until November 11, 2008 to file his reply.             In

his reply Thompson argued that the government should not be excused

from turning over the $8,775.25 that the government claimed had

been   administratively     forfeited,     both    because    the   government

(through some agency) continued to hold the funds and because

Thompson in fact filed a claim for the money in question.              Thompson

also argued that the government figures were incorrect, and that


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apart   from   the   claim    for   $8,775.25,      it   actually    owed    him

$314,955.25, a $3,675.25 discrepancy. Thompson also disagrees with

various other positions taken by the government.

     In reviewing the various memoranda filed with respect to this

motion, I examined Thompson’s presentence investigation report.

That report stated that Thompson had a negative net worth of

$415,000, that he had only $15,000 in cash, that he held certain

real property with equity in the amount of $570,000 and that,

according to Thompson’s attorney, he had debts in the amount of

$1,000,000.    Since the information in the presentence report with

respect to Thompson’s assets failed to mention that the government

held over $300,000 in cash that it apparently had no claim to, I

issued an order to the government and Thompson’s criminal attorney

to explain why they had not informed the Probation Department and

myself of the error in the presentence report before sentencing.

At the sentencing hearing, I had decided, based on his ownership of

the various real property and Thompson’s position in the drug

organization that he could pay a substantial fine.              Nevertheless,

it would have been relevant to the determination of how great the

fine should be, and whether Thompson should pay for the cost of

incarceration and supervised release, to know that a substantial

amount of cash was available. (I might have decided that no greater

fine should be imposed due to Thompson’s parental responsibilities

– he has eleven underage children from various relationships.                     I


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also would have had concern, however, about the head of a drug

organization retaining large amounts of money following conviction

of a drug conspiracy if the money was a result of the conspiracy.3)

Furthermore, I believed that both the government and defense

counsel (who made certain representations about Thompson’s finances

to the Probation Department) had an obligation to honestly inform

the court of whatever information they had.

     In response to my request for an explanation, the government,

having realized that Thompson had not paid the fine imposed by this

court, filed a motion requesting that $99,555 of the money be

turned over in payment of the fine.           With respect to the cash in

general, the government stated that it had simply “dropped the

ball” or, apparently, neglected to seek forfeiture at the time of

sentencing.    It noted, as Thompson stated, that the existence of

the cash at one time was mentioned during the two day sentencing

hearing (in the context of the fact that $300,000 seized from

Thompson’s apartment were in “tens and twenties,” consistent with

drug transactions), but it did not claim that this mention was

likely   to   have,   or   was   intended     to,   correct    the   financial

information in the presentence report.          In fact, I had no reason to

believe that the money had not been disposed of in some way, nor


     3
      Thompson’s reported earnings as set forth in the presentence
report would not appear to substantiate a non-criminal basis for
the large amount of cash seized by the government. If I had known
about the money, however, that would also have been an issue that
could have been addressed by the parties.

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did    I   know   that   the   government     retained    the   money   in     its

possession.

       At the conclusion of the hearing on December 5, I decided that

since the criminal appeal was still pending it made sense to wait

until the appeal was decided.         On the possibility that the court of

appeals would decide that he needed to be resentenced, I would

expect to consider further an appropriate fine. Since Thompson has

not paid the fine imposed at the time of sentencing, and objects to

even having money withheld from the funds that he wishes returned

to pay that fine, my concern that any additional fine would not be

paid appears valid.        Thompson has objected to holding the motion

in abeyance.      Therefore, the motion for return of cash and various

property, including computers and financial information is denied

without prejudice, as premature. Upon completion of the appeal, if

Thompson’s sentence is affirmed, I will promptly decide a new

motion, based on the information contained in the motion before me.

I note that there are numerous areas in which the parties continue

to    disagree,   however,     (and   there   is   at   least   one   motion    to

intervene filed seeking to recover from these funds a claim of an

unsatisfied judgment).         If the parties cannot reach agreement on

these issues, they may be referred to a magistrate judge for

hearing.4


       4
        In his most recent filing, Thompson implies that I should
recuse myself because of bias.    He apparently bases this on my
statement that I have concern about the propriety of allowing a

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                                    ENTER ORDER:


                                    __________________________________
                                            Elaine E. Bucklo
                                       United States District Court

Dated:   January 30, 2009




drug leader to retain large sums of money obtained as a result of
drug operations, and a comment about my belief that a lawyer has
been writing Thompson’s numerous briefs in this court, although
they are filed pro se. It is doubtful that Thompson (or almost any
other incarcerated defendant) would have the resources to file the
detailed legal memoranda that he has been filing, and it is
unlikely that any non-lawyer could write these memoranda.       My
statement was that the memoranda contain inaccurate factual
statements, and are at times impolite in a way that would not be
tolerated by a member of the bar. There is no basis for recusal
and if the suggestion is intended as a motion, it is denied. With
respect to a need for a hearing, since Thompson says that his
criminal attorney of record is not representing him in this matter
(and counsel at the hearing on December 5, 2008 agreed with his
statement), I again remind Thompson that if he shows that he is
without funds to hire an attorney, I will appoint an attorney to
represent him.     He may also have retained counsel file an
appearance. If neither of these is satisfactory, I will attempt to
have Thompson participate in future hearings by telephone.

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